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lN THE UN|TED STATES D|STR|CT COURT FH"ED BYM D.C.
FOR THE WESTERN DlSTR|CT OF TENNESSEE

 

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uNlTEo sTATEs oF AMERch wm OF wl MM
Plaintifr
vs.
cR. No. 04-20029-0
DEWAYNE WARD
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

Thls cause came on for a report date on July 21 , 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with
a report date of Thursday, August 25l 2005l at 9:00 a.m., in Courtroom 3, 9th Floor of
the Federa| Bul|ding, Memphis, TN.

The period from August 12, 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served ln allowing for additional
time to prepare outweigh the need for a speedy tria|.

rr ls so 0RDERED this gi day of July, 2005.

§§NlCE B. §NALD '/</

UNlTED STATES D|STRlCT JUDGE

  
 

Thls document entered on the docket
with Flule 55 andfor 32(b) FFlCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
ease 2:04-CR-20029 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

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Honorable Berniee Donald
US DISTRICT COURT

